                        EXHIBIT A
                        (Redacted)




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                                  UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF TENNESSEE
-----------------------------------------------------------------------X
JOHNNY M. HUNT,                                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  -against-                                            : Case No. 3:23-cv-00243
                                                                       :
SOUTHERN BAPTIST CONVENTION,                                           :
GUIDEPOST SOLUTIONS LLC, and                                           :
EXECUTIVE COMMITTEE OF THE SOUTHERN                                    :
BAPTIST CONVENTION,                                                    :
                                                                       :
                                    Defendants.                        :
-----------------------------------------------------------------------X

        PLAINTIFF’S RESPONSE TO GUIDEPOST SOLUTIONS LLC’S FIRST
              REQUEST FOR THE PRODUCTION OF DOCUMENTS

       Plaintiff, by counsel, hereby provide his responses to Defendant Guidepost Solutions

LLC’s First Request for Production to Plaintiff.

                                   GENERAL OBJECTIONS

       To avoid undue and unnecessary repetition, each of the following responses is made

subject to and incorporates the following general objections:

       1. Plaintiff objects to the requests to the extent they seek to require the disclosure of

information or the production of documents that are beyond the scope of permissible discovery

under the Federal Rules of Civil Procedure.

       2. Plaintiff objects to the requests to the extent they seek to impose discovery burdens or

responsibilities upon Plaintiff beyond those specifically required by the Federal Rules of Civil

Procedure. Plaintiff will respond to the requests in a manner consistent with his obligations under

the Federal Rules of Civil Procedure.




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        3. Plaintiff objects to the requests to the extent they seek the disclosure of information or

the production of documents protected by the attorney-client privilege, the work product

doctrine, consulting expert protections provided by Rule 26, spousal privilege, common legal

interest protections, or any other available privilege, protection or doctrine. To the extent any

request seeks such information, it will not be provided.

        4. Plaintiff objects to the requests to the extent they incorrectly assume the existence and

occurrence of certain facts or events. Plaintiff’s response to any requests is not intended to be,

and shall not be construed as, an admission that any factual predicate stated or inferred in the

request is accurate.

        5. Plaintiff objects to each request that: (a) Contains vague, ambiguous, and undefined

terms and phrases that are subject to a variety of meanings and interpretations; (b) Seeks

information that is publicly available and/or is as readily accessible to opposing counsel and their

clients as it is to Plaintiff; or (c) Seeks information that is not relevant to any party’s claim or

defense and/or not proportional to the needs of the case.

        6. Plaintiff objects to the requests to the extent that the information necessary to respond

is outside of Plaintiff’s possession, custody, or control.

        7. Plaintiff objects to the requests that attempt to obtain information or documents that

are not reasonably accessible.

        8. Plaintiff objects to the requests to the extent they seek the disclosure of confidential or

other sensitive documents that are not relevant to the dispute between the parties.

        9. Plaintiff objects to the extent that the requests are not time-limited or subject matter

limited in a way that would exclude documents not relevant to the claims and defenses in this

litigation from the scope of the requests.



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       10. Plaintiff objects to the requests that are duplicative of other requests.

       11. Plaintiff reserves the right to make rolling productions of documents.

       12. Plaintiff’s responses below are made subject to and without waiving (1) the foregoing

General Objections; (2) the right to object on the grounds of competency, relevancy, materiality,

hearsay or any other proper ground to the use of any such information for any purpose, in whole

or in part, and in any subsequent style or proceeding in this or any other action; and (3) the right

to object on any and all grounds, at any time, to any other discovery procedure relating to the

subject matter of these requests.

       13. Plaintiff’s agreement to produce documents in response to any of the requests, if any,

is qualified as follows. In response to the requests, Plaintiff has conducted a reasonable search

for documents called for by the requests deemed unobjectionable in whole or in part in Plaintiff’s

possession, custody, or control in reasonably accessible locations where such documents are

most likely to be found. In addition, a statement that documents will be produced in response to a

particular request does not mean that Plaintiff knows that such documents exist or are in his

possession. It means only that if such documents exist, are in Plaintiff’s possession, are subject to

discovery in this action, and can be located in a reasonable search of the most likely and

reasonably accessible repositories of responsive documents, they will be produced.

       14. Plaintiff incorporates the foregoing General Objections into each and every answer to

the requests below.




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                                   DOCUMENT REQUESTS

     1.        All documents and communications concerning the allegations in the
Complaint.

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

materials will be withheld on the basis of this objection. A privilege log describing the

responsive materials being withheld will be produced within a reasonable time. Plaintiff also

objects to this request as vague and ambiguous and as not specifying the documents with the

“reasonable particularity” required under Rule 34. Moreover, to the extent that Plaintiff were to

try to narrow this request to those documents in his possession, custody or control that are

relevant to this case, it would be duplicative of the more specific requests set forth below.

        2.    All documents and communications concerning, identified, referred to, or
relied upon in Plaintiff’s Complaint.

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

materials will be withheld on the basis of this objection. A privilege log describing the

responsive materials being withheld will be produced within a reasonable time. Plaintiff also

objects to this request as vague and ambiguous and as not specifying the documents with the

“reasonable particularity” required under Rule 34. Moreover, to the extent that Plaintiff were to

try to narrow this request to those documents in his possession, custody or control that are

relevant to this case, it would be duplicative of the more specific requests set forth below.

        3.     All documents and communications between Plaintiff and SBC concerning
the allegations in the Complaint or the Report.

       RESPONSE: Plaintiff will produce discoverable, non-privileged documents in his

possession, custody, or control.


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    4.      All documents and communications between Plaintiff and the Executive
Committee concerning allegations in the Complaint or the Report.

       RESPONSE: Plaintiff will produce discoverable, non-privileged documents in his

possession, custody, or control.

       5.    All documents and communications between Plaintiff and the SBC Task
Force concerning allegations in the Complaint or the Report.

       RESPONSE: Plaintiff will produce discoverable, non-privileged documents in his
possession, custody, or control.

      6.     All documents and communications between Plaintiff and Survivor from
January 1, 2000 to present.

       RESPONSE: Plaintiff objects to the continued characterization of                     as a

“Survivor.” Plaintiff will produce discoverable, non-privileged documents in his possession,

custody, or control.

     7.     All documents and communications between Plaintiff and Survivor’s
Husband from January 1, 2000 to present.

       RESPONSE: Plaintiff objects to the continued characterization of                     as a

“Survivor.” Plaintiff will produce discoverable, non-privileged documents in his possession,

custody, or control.

       8.     All documents and communications concerning the interviews that Plaintiff
gave to the Guidepost investigators.

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

materials will be withheld on the basis of this objection. A privilege log describing the

responsive materials being withheld will be produced within a reasonable time.

       Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

privileged documents in his possession, custody, or control.



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        9.    All documents and communications concerning discussions or
correspondence Plaintiff had with any person regarding the Report, including without
limitation documents and communications between Plaintiff and his businesses.

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

materials will be withheld on the basis of this objection. A privilege log describing the

responsive materials being withheld will be produced within a reasonable time.

       Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

privileged documents in his possession, custody, or control.

       10.     All documents and communications between Plaintiff and Mr. Blankenship.

       RESPONSE: Plaintiff objects to Request No. 10 as overbroad and unlimited in scope.

Plaintiff interprets Request No. 10 to be seeking information about communications between Mr.

Blankenship and Plaintiff that occurred after the encounter. With that understanding, Plaintiff

will produce discoverable, non-privileged documents in his possession, custody, or control.

      11.    All documents and communications concerning Plaintiff’s leave of absence
from First Baptist Church Woodstock in 2010.

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

materials will be withheld on the basis of this objection. A privilege log describing the

responsive materials being withheld will be produced within a reasonable time.

       Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

privileged documents in his possession, custody, or control.




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        12.    All documents and communications concerning any professional services
Plaintiff received from 2010 to present concerning, relating to, or as a result of the
allegations in the Complaint or the Report.

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

materials will be withheld on the basis of this objection. A privilege log describing the

responsive materials being withheld will be produced within a reasonable time.

       Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

privileged documents in his possession, custody, or control.

        13.    All documents and communications concerning the allegations in paragraph
3 of the Complaint, including but not limited to, the allegation that “Pastor Johnny had a
brief, inappropriate, extramarital encounter with a married woman. Some of the precise
details are disputed, but at most, the encounter lasted only a few minutes, and it involved
only kissing and some awkward fondling.”

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

materials will be withheld on the basis of this objection. A privilege log describing the

responsive materials being withheld will be produced within a reasonable time.

       Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

privileged documents in his possession, custody, or control.

         14.   All documents and communications concerning the allegations in paragraph
7 of the Complaint, including, but not limited to, the allegation that “SBC, its leadership,
and . . . Guidepost . . . decided to use Pastor Johnny as their scapegoat.”

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

materials will be withheld on the basis of this objection. A privilege log describing the

responsive materials being withheld will be produced within a reasonable time.



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       Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

privileged documents in his possession, custody, or control.

        15.    All documents and communications concerning Plaintiff’s allegations in
paragraph 8 of the Complaint, including, but not limited to, the allegation that “[o]n May
22, 2022, Guidepost, the SBC and its leadership publicly released a report that purported
to focus on whether the SBC’s executive leadership had inappropriately responded to
allegations of child and other sexual abuse.”

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

materials will be withheld on the basis of this objection. A privilege log describing the

responsive materials being withheld will be produced within a reasonable time.

       Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

privileged documents in his possession, custody, or control.

      16.    All documents and communications concerning Plaintiff’s allegations in
paragraph 11 of the Complaint.

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

materials will be withheld on the basis of this objection. A privilege log describing the

responsive materials being withheld will be produced within a reasonable time.

       Plaintiff will produce discoverable, non-privileged documents in his possession, custody,

or control.

      17.    All documents and communications concerning Plaintiff’s allegations in
paragraph 12 of the Complaint.

       RESPONSE: Objection. This Request seeks information protected from disclosure by

the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive




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 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       18.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 13 of the Complaint that “Defendants’ publicly released their report.”

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        19.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 29 of the Complaint, including, but not limited to, the allegation that “[o]ver the
 years, Pastor Johnny was a sought-after speaker and author.”

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       20.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 34 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive



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 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       21.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 36 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       22.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 37 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       23.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 38 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive




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 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       24.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 39 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       25.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 40 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       26.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 41 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive




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 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       27.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 42 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       28.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 47 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       29.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 49 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive




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 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       30.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 52 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       31.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 53 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        32.   All documents and communications concerning Plaintiff’s allegations in
 paragraph 55 of the Complaint, including, but not limited to, the allegation that “[s]everal
 times throughout its text the Report uses the term “sexual assault” to refer to a sex crime.”

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive



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 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       33.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 56 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       34.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 57 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       35.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 58 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive




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 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        36.     All documents and communications concerning Plaintiff’s allegations in
 paragraph 59 of the Complaint, including, but not limited to, the allegations that “the
 inclusion of the allegations against Pastor Johnny in the Report was gratuitous and appears
 to have been done in an effort to cause him personal anguish and harm.”

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       37.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 60 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       38.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 61 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive


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 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       39.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 63 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       40.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 64 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       41.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 65 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive




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 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        42.     All documents and communications between Plaintiff and Daniel Akin.

        RESPONSE: Objection. Plaintiff objects to Request No. 42 because it is overbroad.

 Request No. 42 asks for all documents and communications without any limitation on the subject

 matter of the documents and communications. Plaintiff has therefore limited its search for

 responsive documents to documents and communications with Daniel Akin that relate to the

 allegations in the Complaint and the Report. Subject to and without waiving this objection,

 Plaintiff will produce responsive, non-privileged documents in his possession, custody, or

 control.

         43.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 67 of the Complaint, including, but not limited to, the allegation that
 “Defendants’ decision to publish the allegations against Pastor Johnny in the context of a
 report otherwise focused on heinous sexual crimes has exacerbated the damaging impact of
 the allegations.”

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.




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       44.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 68 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       45.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 69 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        46.   All documents and communications concerning any social media relating to,
 or concerning, the allegations in the Complaint or the Report, including without limitation,
 accounts owned by Plaintiff or associated businesses or ministries.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.



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       47.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 72 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       48.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 74 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       49.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 75 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.




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       50.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 76 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       51.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 77 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       52.     All documents and communications concerning Plaintiff’s claim for
 defamation/libel in paragraphs 79-88 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.




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       53.     All documents and communications concerning Plaintiff’s claim for
 defamation/libel per se in paragraphs 89-99 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        54.     All documents and communications concerning Plaintiff’s claim for invasion
 of privacy (false light) in paragraphs 100-108 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

         55.    All documents and communications concerning Plaintiff’s claim for negligent
 infliction of emotional distress in paragraphs 109-113 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.




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        56.     All documents and communications concerning Plaintiff’s claim for public
 disclosure of embarrassing private acts in paragraphs 114-117 of the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        57.     All documents and communications concerning Plaintiff’s allegations in
 paragraph 13 of the Complaint, including, but not limited to, the allegation that “[h]e lost
 his job; he lost income from speaking engagements; and he lost income from publishing
 opportunities. His losses are substantial[.]”

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        58.    All documents and communications concerning Plaintiff’s allegations in
 paragraph 62 of the Complaint, including, but not limited to, the allegations that “[t]he
 decision to smear Pastor Johnny’s reputation with these accusations has led him to suffer
 substantial economic and other damages. He has lost he [sic] job and income; he has lost
 current and future book deals; and he has lost the opportunity to generate income through
 speaking engagements.”

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.


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        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        59.   All documents and communications concerning Plaintiff’s alleged damages
 in the Complaint.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time. To the extent

 Plaintiff engages an expert to opine on damages issues to establish its damages under accepted

 methodologies, Plaintiff will provide its expert disclosure and report(s) on or before the deadline

 set by the Court.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

      60.     All documents and communications concerning the calculation of Plaintiff’s
 damages in this action.

        RESPONSE: Objection. Plaintiff objects to this Request as premature to the extent it

 requires the disclosure of any expert(s) or expert report(s) before the time for such disclosure set

 out in the Court’s Case Management Order. Plaintiff’s damages may require expert analysis to

 ascertain. Some of Plaintiff’s damages may be calculated based upon Defendants’ financial

 records or other records, which must be produced by Defendants at the appropriate time.

 Moreover, Plaintiff will be unable to provide a complete, comprehensive, or final damages

 theory and figure until (A) fact discovery is completed, and (B) expert discovery is completed.

        Plaintiff will disclose any expert(s) and related report(s) in accordance with the Court’s

 Case Management Order.



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        61.    All documents and communications concerning Plaintiff’s income for the
 years 2020, 2021, 2022, and 2023.

        RESPONSE: Objection. This request is vague, ambiguous and overly broad with respect

 to “all documents and communications” concerning Plaintiff’s income. Subject to and without

 waiving these objections, Plaintiff will produce copies of his tax returns for the requested years.

       62.     All documents and communications concerning any income Plaintiff
 generated via speaking engagements for the years 2020, 2021, 2022, and 2023.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        63.    All documents and communications concerning the federal and/or state tax
 returns for the years 2020, 2021, 2022, and 2023 filed by Plaintiff and each business owned
 or controlled by Plaintiff.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        64.    All documents and communications concerning any current and future book
 deals that were allegedly lost or postponed as a result of the Report.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive


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 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

         65.     All documents and communications concerning Plaintiff’s income generating
 activities that were allegedly cancelled or postponed as a result of the claims in the Report.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        66.    All documents and communications concerning new business opportunities
 that came to the Plaintiff after the publication of the Report on May 22, 2022.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time. Plaintiff further

 objects to this Request on the basis that “new business opportunities” is vague and not defined.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.




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        67.     All documents concerning Plaintiff’s alleged emotional harm and distress
 allegedly arising from the events described in the Complaint, including without limitation,
 medical records and documents evidencing medication prescribed for or taken by You in
 connection with such emotional harm and distress.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        68.     All documents and communications concerning Plaintiff’s allegation in its
 Motion to Dismiss Opposition which states “[t]his case arises from the Defendants’ mass
 distribution of private, embarrassing information about Pastor Johnny Hunt and their
 decision to misleadingly feature him in a highly publicized Report along child molesters,
 rapists and sex criminals.”

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

       69.   All documents and communications concerning Plaintiff’s separation from
 the North American Mission Board (NAMB).

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.



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        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

         70.     All documents and communications concerning the statements made by
 Plaintiff on or about January 15, 2023 at Hiland Park Baptist Church in Panama City,
 Florida, including, but not limited to, (i) allegations that Plaintiff was pressured to quit the
 ministry, (ii) statements that Plaintiff had been falsely accused, (iii) statements that
 Plaintiff was being persecuted without cause, (iv) and that Plaintiff could retire and no
 longer had to preach for a living.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

         71.    All documents and communications concerning the “restoration” of Plaintiff
 to public ministry through the auspices of Hiland Park Baptist Church in Panama City,
 Florida, including any documents or communications exchanged between or among
 Plaintiff and Steven Kyle, Benny Tate, Mark Hoover and Mike Whitson.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.




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        72.      All documents and communications concerning any Church-related activity
 that Plaintiff has been involved with, engaged in, or in any way participated in, from the
 date of the Report to present.

        RESPONSE: Objection. This request is vague, ambiguous and overly broad and does not

 identify documents with the “reasonable particularity” required by Rule 34. Plaintiff does not

 know what is meant by the term “any Church-related activity” and will therefore not be

 producing documents in response to this request.

       73.    All documents and communications relied upon or referred to by you in
 preparing your responses to Plaintiff’s initial disclosures, dated June 1, 2023.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

         74.     All documents and communications concerning or referenced in Plaintiff’s
 initial disclosures, dated June 1, 2023, including, but not limited to, the seventeen (17)
 categories of documents referenced therein.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.




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       75.    All documents and communications concerning, identified, or referred to in
 your answers to Guidepost’s First Set of Interrogatories.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        76.   All documents and communications relied upon or referred to by you in
 preparing your answers to Guidepost’s First Set of Interrogatories that were not identified
 in your answers to such Interrogatories.

        RESPONSE: Objection. This Request seeks information protected from disclosure by

 the attorney client privilege, the spousal privilege, and the work product doctrine. Responsive

 materials will be withheld on the basis of this objection. A privilege log describing the

 responsive materials being withheld will be produced within a reasonable time.

        Subject to and without waiving these objections, Plaintiff will produce discoverable, non-

 privileged documents in his possession, custody, or control.

        77.   All documents and communications that you have received or obtained at
 any time from Guidepost, from any party to this litigation, or from any individual or entity
 possessing knowledge of this action.

        RESPONSE: Objection. This request is vague, ambiguous and overly broad and does not

 identify documents with the “reasonable particularity” required by Rule 34. It is also overly

 broad in that asks for all documents and communications ever received or obtained at any time

 from any party to this litigation. For example, Plaintiff has been associated with the SBC for

 decades, and it is unreasonable to ask him to produce all documents and communications ever

 received or obtained from it.


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        Subject to and without waiving these objections, Plaintiff will produce any documents

 received or obtained from Guidepost.

        78.     All expert reports you have obtained with respect to this action.

        RESPONSE: Objection. Plaintiff objects to this Request as premature to the extent that it

 requires disclosure of any expert(s) or expert report(s) prior to the time for disclosure as set forth

 the Court’s Case Management Order. Plaintiff will disclose its expert(s) and expert report(s) on

 or before the deadline set by the Court.

        79.     All documents and communications that you will rely upon at trial.

        RESPONSE: Objection. Plaintiff objects to this Request as premature to the extent it

 requires production of trial exhibits prior to the time for disclosure set by the Court. Plaintiff will

 provide its trial exhibits on or before the deadline set by the Court.




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 Dated: September 18, 2023



                                         /s/ Patrick J. Sanders
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served on September 18, 2023, on

 the following counsel via email only:


                                                    /s/ Patrick J. Sanders
                                                    Counsel for Plaintiff Johnny Hunt

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